
The Supreme Court affirmed the judgment of the Common Pleas on March 28, 1877, in the following opinion:
Per Curiam.
We think that the amendment in this case was substantially ■of a clerical error. If we assume that in point of fact the viewers did write down, and did intend to report the last column of figures in the table of damages as the whole amount of damages found by them for the persons opposite whose names respectively these sums appear, the amendment would be not of a clerical error. But when we find both from the inspection of the paper and the affidavits on which the amendment was permitted that the paper was a previously written form, prepared by the counsel of the Railroad Company, and laid before the jurors, with ruled columns and headings under which the results were to be stated, we can see how easily the viewers, by a misunderstanding of the structure of the table, could misconstrue the intent of the headings, and suppose that the last column was to be ■used for damages as -independent of the value of the lands, and that in the ultimate settlement of each claim the value and the •damages would be paid together to each claimant. This was clearly a mistake of the writing itself, and therefore clerical. This mistake is made manifest from the face of the paper. There being five instances in which the sum in the column headed ■“whole amount of damages” is less than the valuation of the land in the preceding column. This discrepency shows that the greater sum in the valuation column could be no part of the less sum in the damages column.
Proceedings affirmed.
